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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 DONNA BAAR                                       §
                                                  §
               Plaintiff,                         §
                                                  §
 v.                                               §
                                                  §   CIVIL ACTION NO.
                                                  §
 NOVO NORDISK INC,                                §
                                                  §
                Defendant.                        §
                                                  §



               PLAINTIFF=S ORIGINAL COMPLAINT AND JURY DEMAND

        Plaintiff DONNA BAAR (APlaintiff@ or “Baar”) files this original complaint and jury

demand against Defendant NOVO NORDISK INC. (“Defendant” or “NOVO”) alleging

discrimination and retaliation under the Family Medical Leave Act (“FMLA”), 29 U.S.C.§2601

et seq. For cause of action, Plaintiff would show the Court as follows:

                        I. PARTIES, JURISDICTION AND VENUE

        1.       Baar is a female resident and citizen of McKinney, Collin County, Texas. Baar

performed work for Defendant in Dallas, Texas during the time period giving rise to the claims

in this litigation.

        2.       Novo is a foreign corporation and is doing business in Texas.

        3.       This Court has jurisdiction to hear the merits of Plaintiff’s claims under 28 U.S.C.

§1331, §1332, and §1343(a)(4). The court has original jurisdiction and diversity jurisdiction.

        4.       A substantial part of the events or omissions giving rise to Baar’s claims

happened within the Northern District of Texas and venue is proper in this District under 28

U.S.C. §1391.

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                               III. FACTUAL BACKGROUND

       5.      Novo is an “employer” within the meaning of 29 U.S.C. §2611.

       6.      Novo hired Baar in March 2007 as a Diabetes Care Specialist in the New England

territory. The primary person responsible for hiring Baar was Kelly Shea, the District Business

Manager. In 2009, Kevin Hopkins became the new District Business Manager and was Baar’s

supervisor. In late 2010, Baar transferred to Dallas, Texas, and Tommy Carlino became her

District Business Manager. Kelly Schnoor replaced Carlino in July 2012, and has been Baar’s

supervisor since that time.

       7.      As recently as January 2013, Novo gave Baar a performance evaluation in which

she was rated as exceeding expectations. Additionally, Baar was ranked in the top 3 in sales of

Victoza and Levermere in the entire region.

       8.      Despite Baar’s outstanding performance, Novo apparently gave credence to a

completely fabricated compliance complaint from another Diabetes Care Specialist, Alissa

Rouls. Specifically, on September 16, 2013, Brian O’Mahony, Regional Business Director,

informed Baar that Rouls had filed a compliance complaint against Baar. When Baar heard the

specifics of the complaint, she became extremely upset because the allegations were blatantly

false. As a result, Baar exercised her right to take FMLA leave, which lasted until October 23.

       9.      After Baar had exercised her FMLA rights and returned to work, Novo placed her

on a Written Warning for allegedly violating Novo’s rules concerning Business Ethics and

Interactions with Patients in the Field. The basis for the Written Warning was totally absurd,

extremely misrepresented, and absolutely untrue. The Written Warning also caused Baar

economic losses, including the loss of approximately $18,000 in bonus money and

disqualification for the Circle of Excellence award program.

       10.     On December 3, 2013, Baar’s attorney sent a letter of complaint of FMLA


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retaliation on behalf of Baar relating to the above-referenced bogus report and investigation

relating to Baar’s allegedly violating Novo’s business ethics policy. Several months had passed

since that complaint, and Baar was cautiously optimistic that Novo would not engage in any

further retaliatory actions.

        11.     Unfortunately, Baar once again was the subject of retaliation for exercising her

right to complain of FMLA retaliation. There are two situations that clearly show the retaliation

that had recently occurred.

        12.     On April 16, 2014, Pam Day, a compliance officer, Bill Hughes, Senior HR

Business Manager, and Kelly Schnoor, Baar’s manager, informed her that there was another

ethics complaint filed against her. This one related to a lunch meeting on March 24 with Dr.

David Parker and his staff. The complaint alleged that Baar asked for a list of patients that were

taking Invokana. Clearly, Baar’s manager, Schnoor, made this ethics complaint, as he was with

her during the lunch meeting. The true facts are that Baar never asked a question like the one she

was accused of asking. She is well-aware that questions of that type violate both HIPPA laws

and company policies. What is most disturbing about this “compliance” issue is that Schnoor

was with Baar not just during this lunch meeting, but also the better part of the entire day. At no

time did Schnoor advise Baar that she had said anything wrong or inappropriate. Instead, he said

nothing and reported this alleged “violation” to compliance. This is blatant retaliation.


        13.     On April 18, Julie, Dr. Parker’s Office Manager, informed Baar that she had

talked with Pam Day on April 16. Day related that this investigation was started as follows:

Rouls walked into a conversation with the nurses, who were discussing Baar’s lunch meeting

with Dr. Parker referenced above. Even though Rouls heard only bits of the conversation, instead

of trying to clarify with Dr. Parker's staff or Baar, Rouls contacted Schnoor, who promptly told

Rouls to contact compliance. Julie informed Baar that she defended Baar in her conversation
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with Day, stating that Baar had been their Victoza rep for years and would never ask for a list of

patients. Julie seemed upset that Schnoor and Rouls were trying to cause Baar trouble.


        14.      As a false or exaggerated complaint from Rouls and Schnoor was the initiating

cause of the initial ethics complaint late last year, this was the second time Rouls and Schnoor

have been the focal points of the ethics complaints initiated against Baar. It is important to

emphasize that until late last year, Baar had never been the subject of any ethics complaints

whatsoever. It is simply beyond coincidence that these new bogus complaints came on the heels

of her exercising her right to complain of FMLA retaliation.


        15.      On June 18, 2014, Brian O'Mahoney, Regional Manager, informed Baar that she

was being terminated. During the meeting, he gave Baar a termination letter that alleged that she

was being terminated for insufficient performance. That reason is false and also blatantly

retaliatory.


                 IV. CAUSE OF ACTION: FAMILY MEDICAL LEAVE ACT –
                          INTERFERENCE AND RETALIATION

        16.      Plaintiff realleges and incorporates the allegations in paragraphs 1-15 as if fully

stated herein.

        17.      All conditions precedent to the filing of this action have occurred or have been

fulfilled.

        18.      Plaintiff was an employee of Defendant as defined by the FMLA.

        19.      Defendant willfully discriminated and retaliated against Baar after she sought to

take and took protected medical leave under the FMLA. Additionally, Defendant willfully

discriminated and retaliated against Baar after she complained about FMLA discrimination and

retaliation.

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        20.    As a result of the unlawful discriminatory and retaliatory actions of Defendant as

described above, Plaintiff has suffered, and will continue to suffer, actual damages, which she

hereby seeks, in the form of lost wages (salary and bonuses), medical costs, and lost employment

benefits and fringe benefits.

        21.    Defendant’s conduct constitutes a willful violation of the FMLA, entitling

Plaintiff to recover liquidated damages.

        22.    Plaintiff also seeks attorneys’ fees, reasonable expert witness fees, and costs of

the action under the FMLA.

                                      VI. JURY DEMAND

        23.    Baar hereby demands a jury trial on all issues, claims, actions, and defenses in

this case.

                                 VII. PRAYER FOR RELIEF

        WHEREFORE, Baar requests that Defendant be summoned to appear and answer, and

that on final trial, judgment be granted against Defendant awarding Baar the following:

        a.     Back pay, including but not limited to lost wages and other employment benefits;

        b.     Reinstatement and/or front pay and benefits in lieu of reinstatement if
               reinstatement is not feasible;

        c.     Actual damages;

        d.     Liquidated damages;

        e.     Prejudgment and post-judgment interest, in the maximum amount allowed by law;

        f.     Attorneys’ fees, expert fees, and costs of suit; and

        g.     Such other and further legal and equitable relief to which Plaintiff may be justly
               entitled.




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Dated: August 26, 2014                             Respectfully submitted,

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                                           By:      /s/ David K. Watsky
                                                 David Watsky
                                                 State Bar Number 20932600

                                                 ATTORNEYS FOR PLAINTIFF




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